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 9                                   UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11                                            OAKLAND DIVISION

12   UNITED STATES OF AMERICA,                       )   Case No. 20-CR-00266 JST
                                                     )
13           Plaintiff,                              )   UNITED STATES’ RESPONSE TO THE
14                                                   )   DEFENDANT’S SENTENCING MEMORANDUM
        v.
                                                     )
15   MICHAEL BRENT ROTHENBERG,                       )   Hearing Date: November 8, 2024
         a/k/a MIKE ROTHENBERG,                      )   Time: 9:30 a.m.
16                                                   )
             Defendant.                              )
17                                                   )
18
19                                               INTRODUCTION

20           The United States respectfully submits this Response to the Defendant’s Sentencing

21 Memorandum regarding defendant Michael Brent Rothenberg who, after being convicted of 21 counts at

22 trial, is before the Court for sentencing. See Crim. L.R. 32-5(c).

23           The chief takeaway from Rothenberg’s Sentencing Memorandum, Dkt. 411, is that he wishes the

24 Court to pretend that the seven-week trial in this matter never occurred, and he attempts to rely on the

25 passage of time between the guilty verdicts in November 2023 and the sentencing hearing in November

26 2024 to bury the facts proven at trial.

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 1                                                   ARGUMENT

 2 I.       Rothenberg Miscalculates the Sentencing Guidelines

 3          A.      Rothenberg Unquestionably Used Sophisticated Means to Commit His Many
                    Crimes
 4
            One sign of Rothenberg’s wish to ignore the seven-week trial in this matter is his contention that
 5
     he did not use sophisticated means to perpetrate his many crimes and therefore does not warrant the two-
 6
     point enhance under Section 2B1.1(b)(10(C) of the Sentencing Guidelines. The Probation Office
 7
     correctly notes that Rothenberg’s conduct was sophisticated because “he exerted control over the
 8
     various Rothenberg Ventures and River entities in such a way as to deceive investors,” Rothenberg
 9
     furthered his deceit by “running money through various bank accounts attributed to various entities that
10
     in many instances could be considered shell entities,” and Rothenberg took “‘coordinated and repetitive
11
     steps’ to conceal his crimes.” Presentence Investigation Report (“PSR”) ¶ 11. From the trial, the Court
12
     is well familiar with the many steps Rothenberg took to hide information from his employees by
13
     compartmentalizing information and access. So too is the Court aware of how Rothenberg made
14
     countless transfers of money between bank accounts to muddy the waters of what he was doing with his
15
     duped investors’ money. The enhancement applies.
16
            B.      Rothenberg Derived More than $1 Million from a Financial Institution
17
            Rothenberg objects to the PSR’s conclusion that a two-level increase under U.S.S.G. §
18
     2B1.1(b)(17)(A) is warranted for deriving more than $1 million in gross receipts from a financial
19
     institution applies. Rothenberg contends that, for this enhancement to apply, courts have explained the
20
     financial institution must “suffer some type of loss or liability.” United States v. Huggins, 844 F.3d 118,
21
     122 (2d Cir. 2016) (citing former U.S.S.G. § 2B1.1(b)(16)(A), which mirrors current version of the
22
     enhancement found in U.S.S.G. § 2B1.1(b)(17)(A)).
23
            Huggins does not stand for the proposition Rothenberg asserts. In Huggins, the crime was
24
     committed by the defendant taking money from individual victims using their bank accounts. Thus, the
25
     defendant received money entirely from the individual victims, and only employed a financial institution
26
     as a conduit. Here, in sharp contrast, Rothenberg obtained a $4 million loan directly from Silicon Valley
27
     Bank, a financial institution, and thus, Rothenberg did in fact derive more than $1 million in gross
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 1 receipts from a financial institution. To suggest that Silicon Valley Bank did not “suffer some type of

 2 loss or liability” ignores the fact that Silicon Valley Bank had to go through the process of foreclosing

 3 on the collateral and all of the attendant losses associated with such a process. Indeed, Huggins itself

 4 cites United States v. Khedr, 343 F.3d 96, 101 (2d Cir. 2003), which concerns a man obtaining

 5 fraudulent car loans. Kehdr held, “That the companies did not claim a loss does not mean that the loans

 6 are not ‘property ... obtained’ by [the defendant] as a result of the offense.” 343 F.3d at 101. The

 7 enhancement applies.

 8 II.      Sentencing Data Supports the United States’ Sentencing Recommendation, Not
            Rothenberg’s
 9
            Rothenberg claims that a “noncustodial sentence would not lead to unwarranted sentencing
10
     disparity.” Dkt. 411. But Rothenberg does not explain how stealing over $20 million warrants a
11
     downward variance based on sentencing data. Rothenberg argues in generalities, providing the Court
12
     with quotes about variance rates for while collar criminals without ever addressing the facts proven at
13
     trial. See id. Rothenberg essentially notes that sometimes criminals convicted of fraud, theft, and
14
     embezzlement crimes receive a downward variance. The argument is too shallow to be thoroughly
15
     analyzed except to further note that Rothenberg wholly refused to analyze the facts proven at trial and
16
     provided no evidence that similarly situated defendants to his specific crime receive a probationary
17
     sentence. Instead, the sentencing data from the Judiciary Sentencing INformation (“JSIN”) platform
18
     makes one point exceedingly clear: defendants sentenced under the Guidelines set out in the PSR are
19
     incarcerated 98 percent of the time. PSR ¶ 166. Rothenberg has made no showing that he should fall
20
     into the remaining two percent.
21
     III.   The Restitution Sought by the United States Has Been Proven, Despite Rothenberg’s
22          Attempts to Pretend Otherwise

23          The United States proved at trial that the defendant stole over $20 million. Rothenberg correctly

24 acknowledges that “loss” for purposes of restitution is calculated differently than “loss” under the

25 Sentencing Guidelines, and that a court shall award restitution for losses incurred as “a direct and

26 foreseeable result” of a defendant’s wrongful conduct. United States v. Phillips, 367 F.3d 846, 863 (9th

27 Cir. 2004). But with regard to the investors in the Funds, if Rothenberg had merely left the money in the

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 1 bank, without ever investing it, his victims would have $18 million more than they do today. This loss

 2 is direct result of Rothenberg’s lying and stealing. Restitution is appropriate as set out in the PSR.

 3 IV.      Probation’s Proposed Terms of Supervised Release are Justified

 4          A.      The No Contact Term

 5          Rothenberg makes much out of nothing with this objection to the proposed condition that, “You

 6 must have no contact with the identified victims, unless otherwise directed by the probation officer.”

 7 Pursuant to 18 U.S.C. § 3563(b)(6), the Court may order that Rothenberg “refrain from associating

 8 unnecessarily with specified persons.” It is an easy task to provide a list of those individuals to the

 9 Probation Office and to Rothenberg, and the list need not contain his family members.

10          B.      The Financial Conditions

11          First, the Probation Office proposes the condition, “You must not maintain a position of

12 fiduciary capacity without the prior permission of the probation officer.” There is nothing unreasonable

13 about this term; in fact, given the nature and extent of the crimes Rothenberg committed, it is entirely

14 reasonable. Second, the Probation Office proposes two conditions designed to enable the Probation

15 Office to police Rothenberg’s conduct and encourage payment of restitution. Those are, “You must not

16 open any new lines of credit and/or incur new debt without the prior permission of the probation

17 officer,” and “You must provide the probation officer with access to any financial information, including

18 tax returns, and must authorize the probation officer to conduct credit checks and obtain copies of
19 income tax returns.” It was proved at trial that Rothenberg is adept at and frequently engages in

20 complex financial machinations that conceal their purposes. It is therefore entirely reasonable to give

21 the Probation Office authority to look at and approve Rothenberg’s financial affairs. The Probation

22 Office no doubt will approve various lines of credit as the needs arise, but given the crimes for which

23 Rothenberg was convicted, Rothenberg should be required to run everything by the Probation Office.

24          C.      The Search Condition

25          The Probation Office proposes a reasonable suspicion – not “suspicionless” – search condition

26 be imposed on Rothenberg. That search condition is eminently reasonable under the circumstances.

27 First, it is not the “suspicionless” search condition often imposed in cases of violent crime. Second, for

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 1 the same reasons the financial conditions are appropriate, so too is the search condition: to police

 2 Rothenberg’s conduct and encourage payment of restitution.

 3           In short, the Probation Office’s proposed conditions of supervised release should be adopted.

 4 V.        Rothenberg Should Not be Granted Bail Pending Appeal

 5           When Congress enacted the Bail Reform Act, it “shifted the burden of proof from the

 6 government to the defendant” with respect to demonstrating the propriety of remaining free on bail,

 7 pending appeal. United States v. Handy, 761 F.2d 1279, 1283 (9th Cir. 1985). Thus, it is the

 8 defendant’s burden to overcome the presumption that he should be detained while his appeal is pending.

 9 See United States v. Montoya, 908 F.2d 450, 451 (9th Cir. 1990). Rothenberg does not meet that

10 burden.

11           Rothenberg must be detained pending appeal unless he can demonstrate that his appeal “is not

12 for the purpose of delay and raises a substantial question of law or fact likely to result in (i) reversal; (ii)

13 an order for a new trial; (iii) a sentence that does not include a term of imprisonment; or (iv) a reduced

14 sentence to a term of imprisonment less than the total of the time already served plus the expected

15 duration of the appeal process.” 18 U.S.C. § 3143(b)(1)(B).

16           The “substantial question” requirement defines the level of merit required of the question

17 presented. Handy, 761 F.2d at 1280. A “substantial question” is one that may be “fairly debatable” or

18 “fairly doubtful,” and must present “something more than the absence of frivolity” or issues “debatable
19 among jurists of reason.” Id. at 1281-83.

20           The other requirement, the “likelihood of reversal or new trial,” defines the “type of question that

21 must be presented” for appeal. Id. at 1281. The analysis “does not involve assessing the likelihood that

22 a reversal will occur in the particular case,” United States v. Garcia, 340 F.3d 1013, 1020 n.5 (9th Cir.

23 2003), but instead if the question presented is “so integral to the merits of the conviction on which

24 defendant is to be imprisoned that a contrary appellate holding is likely to require reversal of the

25 conviction or a new trial.” United States v. Miller, 753 F.2d 19, 23 (3d Cir. 1985).

26           Rothenberg purports to raise several qualifying questions, but none are substantial of likely to

27 prevail. First, the questions Rothenberg raises fail to address the bank fraud and false statements to a

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 1 financial institution convictions (Counts Three and Four), and therefore the motion should be denied.

 2 Second, Rothenberg mostly reiterates his position that the wire fraud instruction was erroneous

 3 following United States v. Milheiser, 98 F.4th 935 (9th Cir. 2024), but Rothenberg also admits that this

 4 issue was fully briefed and ultimately denied. Dkt. 395. The important point as to this argument is that

 5 even if the instruction was wrong, the evidence at trial was overwhelming that Rothenberg’s many lies

 6 and misrepresentations went to the nature of the bargain in the context of this investment fraud scheme.

 7 Thus, even if the instructions are found to be in error, that error was harmless or did not constitute plain

 8 error. Third, the Court made considered decisions throughout the case that are unlikely to be

 9 overturned, and Rothenberg’s other potential appellate questions are not substantial or likely to lead to

10 reversal. Simply put, Rothenberg has not met his burden and his request should be denied.

11          The government notes that it does not oppose a self-surrender date in early January 2025.

12

13                                                 CONCLUSION

14          For the reasons set forth above, the United States respectfully request that the Court sentence

15 defendant Michael Brent Rothenberg to: (1) 97 months incarceration; (2) five years of supervised

16 release, with special conditions as set out by the United States Probation Office in the Presentence

17 Investigation Report (“PSR”); (3) an order of restitution in the amount of $20,771,158, payable to the

18 entities listed in the PSR; and, (4) a special assessment of $2,100.00.
19

20 DATED: November 5, 2024                                Respectfully submitted,

21                                                        RAVI T. NARAYAN
                                                          Attorney for the United States,
22                                                        Acting Under Authority Conferred by 28 U.S.C. § 515

23
                                                                 /s/
24                                                        BENJAMIN K. KLEINMAN
25                                                        NICHOLAS J. WALSH
                                                          Assistant United States Attorneys
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